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                        EXHIBIT C
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                DISSENTING REPORT
              Submitted by Commissioner
                     Erin Wagner
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   This serves as my dissenting report for the Michigan Independent Citizens Redistricting Commission
   2021 Final Proposed Maps.


   From the start of my term on this commission, I have been interested in fair maps for ALL of Michigan’s
   citizens, not just a few parties, or even the party that I affiliate with. I have read every public comment
   both on and off the portal and looked at every map submitted. At one point, I even asked General
   Counsel Pastula if the maps submitted by the citizens to the portal had been vetted by any of our
   “expert panel” of witnesses (specifically the Promote the Vote maps, in relation to VRA and the other
   criteria) so that I could use portions of those in relation to drawing my own and was told they had not
   been.


   One of the main reasons I voted for EDS was because they offered to supply a QR code during the live
   mapping process where anyone could pull it up and see and comment upon exactly what we were doing
   at the time, yet when I brought that up, I was told that since MDOS had a contract with Professor
   Duchin, EDS would not be supplying a QR code.



   I do not believe that these maps best serve the Citizens of Michigan and feel, as I stated a few times,
   that we should have spent more time than we allotted to come up with maps that were truly fair to
   everyone, while meeting all criteria. In my entire lifetime here in Michigan, we have been neither Red
   nor Blue, swinging between the two parties frequently in our voting decisions. To be fair is to slice up
   the “pie” so that everyone gets the same size piece. These maps do nothing of the kind. When we were
   mapping in relation to the importance of the criteria, I believe we were on the right path. When certain
   organizations started crying out about partisan fairness, I believe we then went off on a strictly partisan
   tangent and discounted most all the other work we had done, especially in relation to Communities of
   Interest (hereon referred to as COI’s) as well as County boundaries.


   When it came time to vote, we were forced to choose one of the subpar maps that were proposed. If
   we didn’t agree that any of them be put forth to the public and the 45-day comment period, we should
   have been allowed to vote no confidence. I believe we should have taken more time, as numerous
   public commenters told us, to come up with maps that every Commissioner could confidently say were
   our best work.


   Some examples as to why I voted against the proposed maps include, but are not limited to the
   following:


   Chestnut:

   Chestnut groups Grand Rapids with Grand Haven, Norton Shores and the like on the far west coast of
   Michigan, as well as extending into Muskegon. It divides three counties to make the 3rd Congressional




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   District and lumps different COI’S together. District 2 extends south beyond notable county boundaries
   to include 20 different counties, which are in NO way communities of interest. District 8 takes areas
   from five different counties to lump Midland with Bay City and Saginaw. District 7 includes six different
   counties encompassing rural areas such as Fowler, Charlotte, Olivet, Eaton Rapids, as well as Fowlerville,
   Howell and Brighton. Coming from this area, we have nothing in common with Howell, Brighton or the
   capitol of Lansing, aside from traveling there on occasion.


   Linden:

   The Linden map is laughable in that once again it groups rural areas with the capitol of Lansing in district
   21 and places East Lansing, with rural Eagle, Westphalia and Williamston. Williamston and Webberville
   are a COI, yet it splits them to place Webberville in District 22 with Howell and Brighton. District 30
   grabs from the west yet again. District 33 places northern areas, such as Baldwin and Sauble with areas
   such as Portland and Ionia which are in the middle of the State and much closer to Lansing, Grand Ledge
   and the like. Once again, Midland is grouped with Bay City and Saginaw, completely discounting a COI.
   Detroit areas seem to reach much farther north than Communities of Interest would warrant. Detroit’s
   voice was by far the largest and loudest and yet we still seem to have allowed that voice to fall on deaf
   ears. District 36 extends from the Northeast tip of the lower peninsula down to the Huron Manistee
   National Forests on the Western side of the lower peninsula, dipping down to grab Pinconning in Bay
   County.


   Hickory:

   In the Hickory map, even though we heard numerous COI testimony to keep the Grosse Pointes in the
   same district as Harper Woods, Saint Clair Shores and nearby Detroit neighborhoods such as
   Morningside, East English Village, Jefferson-Chalmers, it slices Harper Woods from District 10 and
   includes it with District 11. Morningside is included in District 9, while District 10 extends beyond East
   Village to include everything southeast along the Detroit River and cuts off on the northeast side before
   St. Clair Shores.

   Ann Arbor is split in to four districts, 47, 33, 23, and 49. Lansing’s District 77 uses the Grand River along
   Moore’s River Drive as most of its southern boundary, north to W. Cutler Road just north of Dewitt, then
   west and north again to include Westphalia and Eagle (areas which do not have the same interests as
   Lansing, and dips into Eaton County to grab Grand Ledge. District 76 includes the northeast tip of Eaton
   County, which is considered Lansing, grabs Vermontville (an area with a high concentration of Amish)
   yet leaves out Kalamo and Bellevue, with Bellevue being just west of Olivet about 5 minutes by car.

   It splits Nashville, Hastings and Delton, all within Barry County into three separate districts and includes
   Bellevue in Eaton County with the Western portion of the State in District 43. Barry County is split three
   ways, and Eaton County is split in four ways.


   As stated, these examples are not the ONLY problems I see in the proposed maps.




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   Another reason I dissented on these maps is because of the numerous times, as a Commissioner
   attending remotely, I watched the Commission take breaks and then come back to pass a motion
   regarding commission business, that was not part of the discussion that took place prior to said break
   and therefore remote Commissioners were not privy to any discussion. Unfortunately, this called into
   question the whole matter of “transparency “ for me.

   I understand that we could not make everyone happy, however I believe had we spent more time in
   revising maps according to public comment, we could have done a much better job than what we put
   forth.


   Sincerely,



   Commissioner Erin Wagner




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